                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
       v.                                    )       Case No. 4:17-cr-00330-01-SRB
                                             )
PRESTON L. GILLAM,                           )
                                             )
               Defendant.                    )

                                              ORDER

       Before the Court is Defendant Preston Gillam’s Motion for Reconsideration of the Denial of

the Motion for Compassionate Release Due to Danger from the Coronavirus (Doc. #58).

Defendant argues reconsideration is warranted due to “the presence of a once in a lifetime

pandemic that is currently continuing to ravage the health and safety of federal inmates.” (Doc.

#58, p. 2). “In addressing motions to reconsider in the criminal context, courts ordinarily apply the

same standards as those used in civil cases.” United States v. Tucker, No. CR 18-89 (JRT/DTS),

2019 WL 913162, at *2 (D. Minn. Feb. 25, 2019) (citing United States v. Rollins, 607 F.3d 500,

502 (7th Cir. 2010)). “A ‘motion for reconsideration’ is not described in the Federal Rules of Civil

Procedure, but such a motion is typically construed either as a Rule 59(e) motion to alter or amend

the judgment or as a Rule 60(b) motion for relief from judgment.” Auto Servs. Co. v. KPMG, LLP,

537 F.3d 853, 855 (8th Cir. 2008). Defendant cites Rule 59(e) as the authority governing the

instant motion. “Rule 59(e) motions serve the limited function of correcting manifest errors of law

or fact or to present newly discovered evidence.” Innovative Home Health Care, Inc. v. P.T.-O.T.

Assocs. of the Black Hills, 141 F.3d 1284, 1286 (8th Cir.1998) (internal punctuation and citations

omitted). “Such motions cannot be used to introduce new evidence, tender new legal theories, or




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raise arguments which could have been offered or raised prior to entry of judgment.” United States

v. Metro. St. Louis Sewer Dist., 440 F.3d 930, 933 (8th Cir.2006) (quoting Innovative Home Health

Care, 141 F.3d at 1286)).

       Defendant does not present any newly discovered evidence. Further, upon review of the

instant motion and the Court’s prior Order denying Defendant’s motion for compassionate release,

the Court finds it committed no error of law or fact. Accordingly, Preston Gillam’s Motion for

Reconsideration of the Denial of the Motion for Compassionate Release Due to Danger from the

Coronavirus (Doc. #58) is DENIED.

       IT IS SO ORDERED.



DATED: July 1, 2020                                 /s/ Stephen R. Bough
                                                    STEPHEN R. BOUGH, JUDGE
                                                    UNITED STATES DISTRICT COURT




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